Case 3:22-cv-00047-TAD-KDM Document 1 Filed 01/06/22 Page 1 of 8 PageID #: 1




                                    UNITED STATES DISTRICT
                                  COURT WESTERN DISTRICT OF
                                  LOUISIANA MONROE DIVISION


PAUL D. CROCKETT                                   Civil Action No.______________________
     Plaintiff

VERSUS                                             Judge ______________________________

STATE of LOUISIANA, through                 Magistrate Judge __________________________
the LOUISIANA DEPARTMENT
of TRANSPORTAION and
DEVELOPMENT
      Defendant

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                                PLAINTIFF’S ORIGINAL COMPLAINT

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TO THE HONORABLE JUDGE OF SAID COURT:

        NOW COMES PAUL D. CROCKETT, hereinafter called Plaintiff or “ANTHONY”,

complaining of and about STATE OF LOUISIANA, THROUGH THE DEPARTMENT OF

TRANSPORTATION AND DEVELOPMENT, (hereinafter referred to as Defendant or “LA.

DOTD”), and for a cause of action shows unto the Court the following:

                                     PARTIES AND SERVICE

        1.       Plaintiff, PAUL D. CROCKETT, is an individual who is a citizen of the Parish

of Morehouse, State of Louisiana.

        2.       Made defendant herein is the STATE OF LOUISIANA THROUGH THE

DEPARTMENT OF TRANSPORTATION AND DEVELOPMENT (hereinafter called “LA.

DOTD”), through its agent for service of process, Dr. Shawn D. Wilson whose address is 1201

Capitol Access Road, Baton Rouge, LA, 70802.


{00362424.1 5222/000/ATHOMAS}
Case 3:22-cv-00047-TAD-KDM Document 1 Filed 01/06/22 Page 2 of 8 PageID #: 2




                                 JURISDICTION AND VENUE

        3.       The court has jurisdiction over the lawsuit because the suit arises under the Age

Discrimination in Employment Act (“ADEA”), 29 U.S.C. §621 et seq., and the Americans with

Disabilities Act (“ADA”), 42 U.S.C. §12101 et seq. The Plaintiff was employed as a Roadside

Development Herbicide Applicator at STATE of LOUISIANA, through the DEPARTMENT of

TRANSPORTATION and DEVELOPMENT in Bastrop, Louisiana.

        4.       Venue is proper in this district under 42 U.S.C. §2000e-5(f)(3) because the

unlawful employment practice was committed in this district.

                      EXHAUSTION OF ADMINISTRATIVE REMEDIES

        5.       Plaintiff timely filed a charge of discrimination against defendant with the Equal

Employment Opportunity Commission (EEOC) on October 4, 2021, under Charge No. 461-

2021-01753. A copy of the notice of the right to sue is attached hereto as Exhibit A. On October

8, 2021, EEOC issued a Determination and Right to Sue on the issues. Plaintiff files this

complaint within 90 days after receiving a notice of the right to sue from the EEOC. A copy of

the notice of the right to sue is attached hereto as Exhibit B.

        6.       Plaintiff timely filed a charge of discrimination against defendant with the Equal

Employment Opportunity Commission (EEOC) on November 3, 2021, under Charge No. 461-

2022-00182. A copy of the notice of the right to sue is attached hereto as Exhibit C.          On

November 12, 2021, EEOC issued a Determination and Right to Sue on the issues. Plaintiff files

this complaint within 90 days after receiving a notice of the right to sue from the EEOC. A copy

of the notice of the right to sue is attached hereto as Exhibit D.



{00362424.1 5222/000/ATHOMAS}
                                                  2
Case 3:22-cv-00047-TAD-KDM Document 1 Filed 01/06/22 Page 3 of 8 PageID #: 3




               AMERCIAN’S WITH DISABILITIES ACT DISCRIMINATION,
                 AGE DISCRIMINATION IN EMPLOYMENT ACT and
                                RETALIATION

        7.       Plaintiff is an employee protected under ADA and ADEA.

        8.       Defendant is an employer within the meaning of ADA and ADEA.

        9.       Defendant is justly and truly liable to CROCKETT in and for a sum sufficient to

adequately compensate for its failure to provide a safe working environment free from disability

discrimination and retaliation as set forth herein. Defendant’s failure to provide a safe working

environment for CROCKETT resulted in the intentional infliction of emotional distress.

        10.      Plaintiff was hired by LA. DOTD as a Material Equipment Operator 1on or about

September 2019 in the Bastrop unit.

        11.      It was a known fact that the Bastrop unit needed a roadside development

herbicide applicator, a position that had not been filled in five (5) years.     Plaintiff expressed

interest to his foreman in becoming licensed so he could apply for the position. When Scotty

Creech found out Plaintiff’s intentions, he told Plaintiff that he would not pass the test because it

was too hard.

        12.      On September 4, 2020, Plaintiff passed the certification test to become licensed to

spray restricted herbicide chemicals.        CROCKETT became a permanent employee on

September 23, 2020, and thus was eligible to apply for the roadside development herbicide

applicator for the Bastrop unit.

        13.       From the time Plaintiff submitted his application, his supervisor, Scotty Creech,

began harassing him verbally and created unsafe work areas for Plaintiff to work in. He told

other younger employees that “they didn’t need to hire anymore workers like him” and nodded

toward Plaintiff.
{00362424.1 5222/000/ATHOMAS}
                                                  3
Case 3:22-cv-00047-TAD-KDM Document 1 Filed 01/06/22 Page 4 of 8 PageID #: 4




        14.      On or about mid-November 2020, Plaintiff was promoted to roadside

development herbicide applicator for the Bastrop unit.

        15.      Even after Plaintiff’s promotion, Scotty Creech continued to harass Plaintiff about

being too old or too slow.

        16.      In November 2020, Plaintiff filed an internal complaint with the Human

Resources office regarding the continued harassment from Scotty Creech and the hostile work

environment it has created, along with the fact that he did not feel safe around Scotty Creech.

        17.      In December 2020 and in January 2021, Plaintiff filed complaints regarding the

harassment of his supervisor due to his age and disability, along with retaliation claims based on

the hostile and unsafe workplace after he formally complained to Human Resources.

        18.      On or about December 18, 2020, Plaintiff was injured on the job while changing a

tractor tire by himself after being told by his supervisor, Scotty Creech, that no one was allowed

to help him.

        19.      Plaintiff went to the Emergency Room because of his severe back pain. He was

treated with a steroid shot and muscle relaxers. He tried to go back to work the following day

but was in too much pain.

        20.      Plaintiff saw a doctor on or about January 11, 2021, due to continued lower back

pain with leg weakness and tingling since his lifting injury on December 18, 2020, and was

ordered to stay home until the injury healed. His treating physician ordered an MRI of his

lumbar spine.

        21.      Plaintiff filed a workers’ compensation claim and was placed on workers’

compensation leave on January 27, 2021.

        22.      On March 18, 2021, an MRI was performed on Plaintiff that indicated
{00362424.1 5222/000/ATHOMAS}
                                                  4
Case 3:22-cv-00047-TAD-KDM Document 1 Filed 01/06/22 Page 5 of 8 PageID #: 5




CROCKETT’s lower back had been severely damaged from the lifting injury.

        23.      Plaintiff was out on leave from January 27, 2021, to June 5, 2021.

        24.      On May 20, 2021, Plaintiff received a letter from LA DOTD releasing him from

employment effective June 5, 2021, for non-disciplinary reason of exhaustion of leave.

        25.      Defendant, LA. DOTD, by its conduct herein alleged, did deprive the Plaintiff of

his rights, privileges and immunities secured to him by the laws of the United States, particularly

his right to be free from being terminated based on his physical disability and/or age, or the

company’s perception of him as being disabled and/or old.        Plaintiff worked from his date of

employment in September 2019 until his injury in January 2021 without any write-ups or

complaints. Plaintiff was terminated in violation of the Americans with Disabilities Act.

        25.      Defendant, LA. DOTD, by its conduct alleged herein, did deprive the Plaintiff of

his rights, privileges and immunities secured to him by the laws of the United States, particularly

his right to be free from retaliation from LA. DOTD for having filed internal complaints with

management, grievances, and charges of discrimination with the Equal Employment Opportunity

Commission. When Plaintiff was terminated, it is Plaintiff’s belief that because he had been

performing the physical duties of his job as Roadside Development Herbicide Applicator several

months prior with no complaints from any supervisor in the Bastrop unit up to the date he was

injured on the job, that the stated reason of him not having any leave when he was on workers’

compensation leave was pretext for Defendant LA. DOTD’s illegal motive of retaliation for

having asserted his federally protected rights through internal complaints to management in the

form of grievances and EEOC filings.

        26.      Plaintiff is entitled to punitive damages against the Defendant because Defendant

acted with reckless disregard for his federally protected rights when it tolerated disability
{00362424.1 5222/000/ATHOMAS}
                                                  5
Case 3:22-cv-00047-TAD-KDM Document 1 Filed 01/06/22 Page 6 of 8 PageID #: 6




discrimination.

        27.      Plaintiff is entitled to a trial by jury.

        28.      Should Plaintiff prevail, he is entitled to an award of reasonable attorney fees,

 litigation expenses and all costs of court.

        29.      Defendant intentionally engaged in unlawful employment practices involving

Plaintiff resulting in him filing internal complaints and complaints with the EEOC.

        30.      LA. DOTD retaliated against Plaintiff, as described above, in violation of his

rights. Defendant knew or should have known of the discrimination yet failed/refused to take

prompt remedial action. Defendant further engaged in acts of retaliation when it refused to

remedy the situation and attempted to force CROCKETT to work in a hostile environment.

        31.      LA. DOTD retaliated against CROCKETT on the basis of his physical disability

or the company’s perception of him as being disabled with malice or with reckless indifference

to his state protected rights. Defendant further engaged in acts of reprisal and retaliation with

malice and reckless indifference to his federally protected rights.

                                      RESPONDEAT SUPERIOR

        32.      Whenever in this Complaint it is alleged that the Defendant, LA. DOTD, did any

act or thing, it is meant that the Defendant LA. DOTD’s managers, supervisors, agents, servants,

employees or representatives (of which Scotty Creech is supervisory employee of LA. DOTD)

did such act and/or that at that time such act was done, it was done with the full authorization or

ratification of LA. DOTD or was done in the normal and routine course and scope of

employment of the LA. DOTD’s managers, supervisors, agents, servants, employees or

representatives.



{00362424.1 5222/000/ATHOMAS}
                                                      6
Case 3:22-cv-00047-TAD-KDM Document 1 Filed 01/06/22 Page 7 of 8 PageID #: 7




                                              DAMAGES

        33.      Plaintiff sustained the following damages as a result of the actions and/or

omissions of Defendant described hereinabove:

        a.       Compensatory damages in a reasonable sum to be set by this Court;

        b.       Punitive damages in a reasonable sum to be set by this Court;

        c.       Reasonable attorney fees, together with costs and litigation expenses;

        d.       For such other and further relief as this Court may deem just and proper under the
                 circumstances;

        e.       A permanent injunction prohibiting the defendant from discriminating against
                 employees and to implement a policy prohibiting discrimination based on
                 physical disability or the company’s perception of its employees being disabled,
                 and to implement training of all employees in the field of disability
                 discrimination;

        f.       Adjudge and declare that the acts, policies, practices and procedures of defendant
                 complained of herein violated Plaintiff’s civil rights secured by federal law;

        g.       Permanently enjoin defendant from taking any action in retaliation against
                 Plaintiff for having filed a complaint and/or this lawsuit;

        h.       Order the defendant to make whole the Plaintiff by providing all relief requested
                 in this Complaint and provided by law; and,

        i.       Plaintiff be granted a trial by jury.

                                     EXEMPLARY DAMAGES

        34.      CROCKETT would further show that the acts and omissions of Defendant,

complained of herein, were committed with malice or reckless indifference to the federally

protected rights of CROCKETT. In order to punish said Defendant for engaging in unlawful

business practices and to deter such actions and/or omissions in the future, CROCKETT also

seeks recovery from Defendant for exemplary damages.



{00362424.1 5222/000/ATHOMAS}
                                                     7
Case 3:22-cv-00047-TAD-KDM Document 1 Filed 01/06/22 Page 8 of 8 PageID #: 8




                                             PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiff, PAUL D. CROCKETT,

respectfully prays that the Defendant be cited to appear and answer herein, and that upon a final

hearing of the cause, judgment be entered for the Plaintiff against Defendant for damages in an

amount within the jurisdictional limits of the Court; exemplary damages, including interest,

together with pre-judgment interest at the maximum rate allowed by law; post-judgment interest

at the legal rate, costs of court; attorney fees and such other and further relief to which the

Plaintiff may be entitled at law or in equity.

                                  DEMAND FOR JURY TRIAL

        Plaintiff, PAUL D. CROCKETT, asserts his rights under the Seventh Amendment to the

U.S. Constitution and demands, in accordance with Federal Rule of Civil Procedure 38, a trial by

jury on all issues.


                                                 Respectfully submitted,

                                                 MIXON, CARROLL, FRAZIER & MCILWAIN, LLC
                                                 P. O. Drawer 1619
                                                 Columbia, LA 71418
                                                 Phone (318) 649-9284
                                                 Fax (318) 649-0277
                                                 JCarroll@MixonCarroll.com

                                                 /s/ James L. Carroll
                                                 JAMES L. CARROLL, LSB# 28322




{00362424.1 5222/000/ATHOMAS}
                                                    8
